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Case 2:17-cv-11990-AJT-PTM ECF No. 1 filed 06/19/17 Pagel. 10 Page 10 of 12

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CIVIL COVER SHEET FOR PRISONER CASES

 

 

 

Case No. _17-11990 Judge: _Arthur J. Tarnow Magistrate Judge: _ Patricia T. Morris
Name of 1* Listed Plaintiff/Petitioner: Name of 1° Listed Defendant/Respondent:

Dion Armstead Thomas Winn

Inmate Number: 248951 Additional Information:

 

Plaintiff/Petitioner’s Attorney and Address Information:

 

Correctional Facility:
Saginaw Correctional Facility

9625 Pierce Road
Freeland, MI! 48623
SAGINAW COUNTY

 

 

 

 

BASIS OF JURISDICTION ORIGIN
[i 2 U.S. Government Defendant EE 1 Original Proceeding
3 Federal Question C 5 Transferred from Another District Court
Other:
NATURE OF SUIT
530 Habeas Corpus
[7 540 Mandamus FEE STATUS
TZ 550 Civil Rights IFP in Forma Pauperis
C2 555 Prison Conditions TC PD Paid

 

PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed?

 

 

Ci Yes xi No
> If yes, give the following information:
Court:
Case No:
Judge:

 

2. Other than stated above, are there any pending or previously discontinued or dismissed companion cases in this or any
other court, including state court? (Companion cases are matters in which it appears substantially similar evidence will
be offered or the same or related parties are present and the cases arise out of the same transaction or occurrence.)

 

 

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Judge:

 

MIED (Rev. 07/06) Civil Cover Sheet for Prisoner Cases
